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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 George E. Norcross, III, Gregory B.       :
 Braca, and Philip A. Norcross,            :
                    Plaintiffs,            :
                                           :     CIVIL ACTION
             vs.                           :     NO. 22-cv-04953 (BMS)
                                           :
 Republic First Bancorp, Inc., Harry       :
 Madonna, Andrew B. Cohen, Lisa
 Jacobs, Harris Wildstein, Peter B.        :
 Bartholow, and Benjamin C. Duster,        :
 IV,                                       :
                                           :
                    Defendants.            :
                                           :
                                           :
                                           :

              DECLARATION OF LAURA E. KRABILL, ESQ.
      I, Laura E. Krabill, declare as follows:
      1.    I am a partner at Ballard Spahr LLP. I represent Plaintiffs George E.

Norcross, III, Gregory B. Braca, and Philip A. Norcross (“Plaintiffs”) in the above-

captioned action. I make this declaration in support of Plaintiffs’ Motion for

Expedited Remand and from my own personal knowledge.

      2.    Plaintiffs filed the Complaint in this action on November 22, 2022, and

sent a courtesy copy to Defendants’ counsel on the same day. A true and correct

copy of a November 22 email forwarding the Complaint to Defendants’ counsel

(without attachment) is attached as Exhibit A.
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      3.     On December 5, Plaintiffs filed a Motion for Preliminary Injunction

(the “PI Motion”) in this matter in the Philadelphia Court of Common Pleas, asking

that the Court preliminarily enjoin Defendants Republic First Bancorp, Inc. (the

“Company”), Harry Madonna, Andrew B. Cohen, Lisa Jacobs, Harris Wildstein,

Peter B. Bartholow, and Benjamin C. Duster, IV (collectively, “Defendants”) from,

inter alia: (1) implementing their plan to reduce the size of the Company’s board or

any similar measure that has the effect of frustrating shareholders’ voting rights; (2)

making any amendments to the Company bylaws or size of the board until after the

2022 annual meeting and a special meeting to fill an additional vacant director seat;

or (3) making any attempt to enforce the improper nomination deadline Defendants

had set or preclude Plaintiffs’ board nomination.        True and correct copies of

Plaintiff’s Motion for Preliminary Injunction (with Proposed Orders), Memorandum

of Law in support, and Declaration of Philip Norcross in support with exhibits (other

than the Complaint) are attached hereto as Exhibits B, C, and D, respectively.

      4.     Again, Plaintiffs sent Defendants’ counsel a courtesy copy of the PI

Motion the day it was filed, before the filing had even been accepted by the Court of

Common Pleas’ filing system. A true and correct copy of a December 5, 2022 email

forwarding the PI Motion package to Defendants’ counsel (without attachments) is

attached as Exhibit E.




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      5.     On December 6, counsel for Plaintiffs conferred with counsel for

Defendants to set a schedule for Defendants’ response and a hearing on Plaintiffs’

PI Motion. Because the Company’s 2022 annual meeting is currently scheduled for

January 26, 2023, Plaintiffs contended that they required a hearing on their PI

Motion before the Christmas holidays in order to effectively engage in their proxy

contest and solicit votes from their fellow shareholders. Defendants claimed they

believed a hearing in the first week of January would leave Plaintiffs sufficient time

to conduct their proxy contest.

      6.     On that same call, counsel for Plaintiffs advised counsel for Defendants

that the judge appointed to the case in the Court of Common Pleas has a conflict

with Plaintiffs’ law firm and recuses herself from cases in which the firm appears,

and that as a result the judicial assignment would likely need to change.

      7.     Later on the afternoon of December 6, the parties spoke with Susan

Packer, administrator of the Court’s Commerce Program. Ms. Packer advised the

parties that while she would resolve the judicial assignment issue, the parties would

need to contact the subsequent assigned judge to address scheduling.

      8.     Late that afternoon, the parties were notified that the Honorable Ramy

I. Djerassi had been assigned to the case. The parties agreed by email to contact

Judge Djerassi’s chambers the next day. A true and correct copy of the December




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6–7 email correspondence between counsel for the parties is attached hereto as

Exhibit F.

      9.     On December 7, counsel for Defendants advised that he was traveling

and unavailable to contact Judge Djerassi’s chambers until the afternoon.

Accordingly, the parties jointly contacted Judge Djerassi’s chambers by phone at

approximately 3:30 PM. In the call to chambers, Judge Djerassi’s office directed

the parties to submit letters (or a joint letter) setting forth their positions on

scheduling. Additionally, the parties were also advised that Judge Djerassi was

scheduled to be on vacation in early January.

      10.    Plaintiffs attempted to coordinate a joint letter with Defendants and

provided Defendants with a draft containing Plaintiffs’ position at approximately

2:00 PM the next day, December 8. Counsel for Defendants advised Plaintiffs that

lead defense counsel had a funeral that morning and that Defendants therefore would

not be able to complete their portion of the proposed joint letter until after hours that

day or the next morning. In light of the urgency of the matter, Plaintiffs advised

Defendants that they would submit their letter to the Court setting forth their position

and agreed to notify the Court in their letter that Defendants intended to submit their

own letter the next day.      A true and correct copy of the December 8 email

correspondence between counsel for the parties is attached hereto as Exhibit G.




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      11.    As indicated, Plaintiffs submitted their letter requesting an expedited

schedule and setting forth the reasons a hearing before the holidays was imperative

to the Court on the afternoon of December 8, advising the Court that Defendants

intended to submit their letter the following day. A true and correct copy of

Plaintiffs’ December 8 letter is attached hereto as Exhibit H.

      12.    That same day, the Court entered an order setting Wednesday,

December 14 as the Defendants’ response date for the PI Motion, and scheduling a

hearing on the PI Motion for Friday, December 16. A true and correct copy of the

Court’s December 8 order is attached hereto as Exhibit I.

      13.    The following day, December 9, Defendants submitted a letter to the

Court asking that it delay their response date and the hearing. Among other reasons

for their request to delay, Defendants indicated that their local counsel—George M.

Vinci and Neal R. Troum, Esqs.—would be in trial the following week in Delaware

and unable to prepare briefing or prepare for the hearing. A true and correct copy of

Defendants’ December 9 letter is attached hereto as Exhibit J.

      14.    Later that day, Ms. Packer relayed to the parties the Court’s response

to Defendants’ letter offering Defendants a choice: the Court would delay the

hearing on Plaintiffs’ PI Motion until mid-January (likely January 18) if Defendants

delayed the Company’s annual meeting by at least thirty (30) days; otherwise, the

dates for Defendants’ response and the hearing would proceed as ordered. Ms.


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Packer also advised that the Court noted, in light of the unavailability of Defendants’

local counsel, pro hac vice counsel could appear for Defendants. A true and correct

copy of Ms. Packer’s December 9 email to the parties is attached hereto as Exhibit

K.

      15.    After receiving Ms. Packer’s email, counsel for Defendants contacted

Plaintiffs’ counsel and asked if Plaintiffs would jointly request a response and

hearing the week of December 19, if the Court was amenable to that schedule.

Plaintiffs’ counsel noted that Plaintiffs would likely not agree, and pointed out that

Defendants had the ability to obtain additional time by delaying the Company’s

annual meeting (which had already been delayed by eight months). Defendants

refused that option.

      16.    Up through the evening of December 12, Defendants proceeded to

communicate with Plaintiffs about witnesses, exhibits, and attendance at the

December 16 hearing as though they intended the hearing to go forward as

scheduled. A true and correct copy of the December 9–13 email correspondence

between counsel for the parties is attached hereto as Exhibit L.

      17.    On the morning of December 14, the due date for Defendants’ response

to Plaintiffs’ PI Motion, Plaintiffs received an automated email notification from the

Court of Common Pleas e-filing system containing Defendants’ notice of removal

to this Court. Defendants provided no prior notice to Plaintiffs before filing their


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notice of removal. According to the notification, Defendants had filed their notice

of removal at 5:21 PM on December 13, after the state court’s close of business.

Thus, the filing was not reviewed and accepted by the court—and Plaintiffs notified

via the Court’s e-filing system—until the following morning. A true and correct

copy of the December 14, 2022 email notification received by Plaintiffs is attached

as Exhibit M.

      18.    On Thursday, December 15, after Defendants’ removal to this Court,

Alan Epstein, Esq., of the same firm as Mr. Vinci and Mr. Troum, called me and

asked that Plaintiffs advise Defendants of Plaintiffs’ intentions to make any filings

in this case, noting that he would be on trial this week. Mr. Epstein indicated that he

would likely now be serving as lead local counsel, rather than Mr. Vinci, since he

was familiar with removal procedures and had assisted lead counsel at Vinson &

Elkins with the removal. He provided no explanation why his partner Mr. Vinci

would be unavailable this week.

      19.    On December 18, 2022, Mr. Epstein sent an email to me, reiterating his

trial scheduling and asking that Plaintiffs coordinate with him if and when they made

any filings in this Court so that he could ask to be heard on scheduling issues for any

motion. A true and correct copy of the December 18 email from Mr. Epstein is

attached as Exhibit N.




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